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                            EXHIBIT A
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 1    J. Curtis Edmondson, CSB# 236105
      Kiren Rockenstein, CSB# 312301
 2
      Edmondson IP Law
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 4    Hillsboro, OR 97124
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 5    Fax: 503-482-7418
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 6
      Email: kirenr@edmolaw.com
 7

 8    Attorney for Defendant DOE 76.247.176.87

 9

10                          IN THE UNITED STATES DISTRICT COURT
11
                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12

13                                             ) Case No.: 3:17-cv-2317-JAH-BLM
       STRIKE 3 HOLDINGS, LLC,                 )
14                                             ) DEFENDANT JOHN DOE’S
              Plaintiff,                       ) RULE 68 OFFER OF JUDGMENT
15                                             )
       vs.                                     )
16
                                               )
17     JOHN DOE subscriber assigned IP address )
       76.172.87.57,                           )
18                                             )
              Defendant                        )
19                                             )
20

21           Defendant JOHN DOE subscriber assigned IP address 76.172.87.57 (“DOE”)

22    pursuant to FRCP 68, makes the following offer of judgment on STRIKE 3 HOLDINGS,

23    LLC (“S3H”) who has alleged infringement of the movies (“Works”), as attached to Exhibit
24
      A of their Complaint at Docket 1:
25
                 Whereas DOE offers the following to S3H:
26




      DOE’S OFFER OF JUDGMENT
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 1              1. Judgment shall be entered in the amount of $ 3,250.00 which includes all
 2
                    damages (statutory and/or actual), costs, and attorney fees for the claim of all
 3
                    copyright infringements, if any, as alleged in the complaint;
 4
                2. DOE shall:
 5
                        a. be permanently enjoined from any future infringements of S3H’s
 6

 7
                             copyrighted Works as alleged in the Complaint;

 8                      b. delete and permanently remove the digital media files relating to

 9                           S3H’s Works as alleged in the complaint from each of the computers
10                           under DOE’s possession, custody or control;
11

12
             If DOE’s offer is accepted by S3H within the period of 14 days after service,
13
      judgment shall be entered according to “1” and “2” above.
14

15

16                                                Respectfully Offered,

17

18    Dated: March 8, 2018
19                                                J. Curtis Edmondson (CASB #236105)
                                                  Edmondson IP Law
20
                                                  3699 NE John Olsen Avenue
21                                                Hillsboro, OR 97124
                                                  Email: jcedmondson@edmolaw.com
22                                                Attorney for DOE

23

24

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      DOE’S OFFER OF JUDGMENT
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 1                                   CERTIFICATE OF SERVICE
 2
             I hereby certify that on March 8, 2018, I served a copy of the foregoing RULE 68 OFFER
 3
      by mail on the following (below):
 4
             Lincoln Bandlow
 5           Fox Rothschild LLP
             10250 Constellation Blvd., Suite 900
 6
             Los Angeles, CA 90067
 7

 8    Dated: March 8, 2018

 9                                                           J. Curtis Edmondson

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      DOE’S OFFER OF JUDGMENT
                                                    Page 3
